09/19/24 13:59:01 Desc Main
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Debtor 4 Phyllis P. Oliver

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania
(State)

Case number 24-11429

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
__ _ INDENTURE TRUSTEE FOR NEW CENTURY .
Name of creditor: HOME EQUITY LOAN TRUST 2004-3 Court claim no. (if known): 2-1

Last 4 digits of any number you use to 3.5 3 6
identify the debtor's account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

No
LJ Yes. Date of the last notice: / /

an Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

Description Dates incurred Amount
1. Late charges qa) $
2. Non-sufficient funds (NSF) fees (27 $
3. Attorney fees (Plan Review) 3) §$
4. Filing fees and court costs (4) $
5. Bankruptcy/Proof of claim fees (5) $
6. Appraisal/Broker's price opinion fees (6) $
7. Property inspection fees (7) $
8. Tax advances (non-escrow) (8) $
9. Insurance advances (non-escrow) (9) $
10. Property preservation expenses. Specify: (10) $
11. Other. Specify; Objection to Confirmation 7/24/24 (11) $ 550.00
12. Other. Specify: Service of Notice 7/29/24 (12) $4.12
13. Other. Specify: (13) $
14. Other. Specify: (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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Debtor 1 Phyllis P. Oliver Case number (i known) 24-11429

First Name Middle Name Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

LJ | am the creditor.

| am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.

X Js/ Shakyra Hopkins Date 09/19 ; 2024

Signature
Print: Shakyra Hopkins Tite _Authorized Agent

First Name Middle Name Last Name
Company Liepold, Harrison & Associates, PLLC
Address 1425 Greenway Drive, Suite 250

Number Street

Irving TX 75038

City State ZIP Code

Contact phone (800 ) 349 - 1254 Email PCNInquiries@I|ha-law.com

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UNITED STATES BANKRUPTCY COURT
Eastern District of Pennsylvania (Philadelphia)

In Re: Phyllis P. Oliver Case No 24-11429

Debtor(s)

Chapter 13

CERTIFICATE OF SERVICE

| hearby certify that on 9/19/2024,a true and correct copy of the foregoing Post-Petition Fee Notice was served
upon all interested parties pursuant to the Court’s CM/ECF system.

By:/s/ Shakyra Hopkins

Authorized Agent for Creditor
Liepold, Harrison and Associates

1425 Greenway Drive, Suite 250
Irving, TX 75038

Debtor through the debtor’s attorney of record
Phyllis P. Oliver
6222 N 10th St

Philadelphia, PA 19141-3802

Debtor’s Counsel

MICHAEL A. CIBIK
help@cibiklaw.com

Trustee
KENNETH E. WEST
ecfemails@ph13trustee.com

US Trustee
The Office of the United States Trustee
USTPRegion03.PH.ECF@usdoj.gov
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&Y INVOICING "Invoice Detail IP Carrington Mortgage Services, LLC / Laquita Jimerson

@ a i ull S a a @

Approve | Resolve | Route | eMessages | P-Notes | Receipts | Print | Create eMessage | Curtailment Threshold 127 of 129 | << >>
Vendor Hill Wallack Regarding: Invoice Number: 769994
Address: 21 Roszel Road PO Box 5226 PHYLLIS OLIVER Invoice Status: Check Requested (Exc)
Princeton, NJ 08543-5226 6222 N LOTH STREET Loan No.: a

Payee Code: 57346 PHILADELPHIA, PA 19141 Acquisition Date:
Vendor Contact: OLAF Billing SA Loan Type: Conventional
Vendor Ref #: 17511-5507 Asset No.:
Servicer: Carrington Mortgage Services, LLC REO Loan Status: N/A
Inv. ID / Cat. ID 00256/00100 Investor Loan #: ma REO Loan Status Date: N/A
Investor Name: NEW CENTURY HOME EQUITY LOAN TRUST Referral Date: 4/29/2024
Invoice ID: 337743334 Loan Location:
Class Code: BK Case No: 24-11429
Entity Code: 0 BK Chapter: 13
GSE Code: Submitted Date: 7/31/2024
GSE REO Rem. Vendor Invoice Date: 7/31/2024
Code: Paid In Full Date: N/A
HiType: Foreclosure Removal Date: N/A
cagation Status MS Status: N/A
Man Code: Relief Requested Date: N/A

Protection Begin Date: N/A

Protection End Date: N/A

Original Mortgage Amount: $0.00
Principal Balance as of invoice create date: $101,287.28
Principal Balance as of today's date: $101,287.28

Bankruptcy - Bankruptcy Services

07/31/2024 08/02/2024 09/06/2024 08/02/2024 08/02/2024 3
[Line items |[ Lf lf l lf l lI Lf lf lf lf
Fees Total: $550.00 Invoicing Prev. Billed: $950.00 Exc. Loan Allow: Exc. Milestone Exc Ord Allw:
Costs Total: $4.12 Invoicing Prev. Billed: $0.00 Exc. Loan Allow: Exc Ord Allw:
Exc. Loan Total Fees/Costs Allow:
Totals Inv Amt: $554.12 Prev. Billed: $950.00 Loan Total Fees/Costs Prev.Billed: $34,708.68 Exc Ord Allw:
Fees
Al &y cl Attorney Fees Objection to Confirmation 07/24/24 1 $550.00 $550.00 $0.00 $550.00
Total: $550.00 $0.00 $550.00
Costs
Al & cl Service Costs Service of Notice 07/29/24 1 $4.12 $4.12 $0.00 $4.12
Service From Date: 07/24/2024 Service To Date: 07/29/2024
Total: $4.12 $0.00 $4.12
Invoice Total: $554.12 $0.00 $554.12

